 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.1 Filed 04/19/19 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

TIMOTHY GLICK, individually and Case no.
on behalf of all others similarly situated,

             Plaintiff,                    CLASS ACTION COMPLAINT

v.
                                           DEMAND FOR JURY TRIAL
ALLY FINANCIAL, INC.,
a Delaware corporation,

             Defendant.


     CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Timothy Glick (“Glick” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial (“Complaint”) against Defendant Ally

Financial, Inc. (“Defendant” or “Ally”) to stop Defendant from violating the

Telephone Consumer Protection Act by making autodialed calls to consumers

without their consent, and to obtain injunctive and monetary relief for all persons

harmed by Defendant’s conduct. Plaintiff, for his Complaint, alleges as follows

upon personal knowledge as to himself and his own acts and experiences, and, as

to all other matters, upon information and belief, including investigation conducted

by his attorneys.

                                INTRODUCTION

      1.     Ally is a financial services company that engages in debt collection by

phone on behalf of various lenders.
 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.2 Filed 04/19/19 Page 2 of 12




        2.   Ally uses skip-tracing to attempt to locate phone numbers for

consumers with debts that Ally is looking to collect on behalf of its lender clients.

        3.   Ally regularly calls cellular phone numbers it obtains through skip-

tracing using an autodialer, despite the fact that Ally does not have consent to place

autodialed calls to any cellular phone numbers it obtains through skip-tracing if

they are not in fact associated with the consumers Ally is seeking to collect debts

from.

        4.   Plaintiff received 3 autodialed calls from Ally, despite the fact that he

does not have a past due account that has ever been referred to Ally for collection,

and he has otherwise never had a relationship with Defendant or the consumer

Defendant was calling about.

        5.   In response to these calls, Plaintiff files this lawsuit seeking injunctive

relief, requiring Defendant to stop making autodialed collection calls to consumers

without their consent, as well as an award of statutory damages to the members of

the Class and costs.

                                      PARTIES

        6.   Plaintiff Glick is, and at all times relevant to the Complaint was, a

Cincinnati, Ohio resident.

        7.   Defendant Ally is a Delaware corporation headquartered in Detroit,

Michigan.



                                                                                        2
    Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.3 Filed 04/19/19 Page 3 of 12




                            JURISDICTION AND VENUE

        8.    This court has jurisdiction over the subject matter of this action under

28 U.S.C. § 1331, as the action arises under the TCPA, 47 U.S.C. § 227.

        9.    This court has personal jurisdiction over Defendant and venue is

proper in this district under 28 U.S.C. § 1391(b) because Defendant resides in this

District, and because Defendant’s calls were directed to Plaintiff from this District.

                              COMMON ALLEGATIONS

                      Ally Places Autodialed Calls to Cell Phone
                      Numbers it Obtains through Skip-Tracing

        10.   Ally uses skip-tracing to attempt to track down phone numbers for

consumers that are delinquent on their accounts.1, 2

        11.   However, skip-tracing at times results in the identification of cell

phone numbers for a particular consumer that should not in fact be associated with

that consumer. As a result, some calls Ally makes to cell phone numbers obtained

through skip-tracing are wrong number calls – i.e., they are not in fact made to the

consumers Ally is attempting to collect a debt from.

        12.   The calls Ally makes to these consumers who have not been referred

to Ally for collection are made without the recipient’s consent.

        13.   In placing these unauthorized, Defendant uses an automatic telephone


1
  https://www.indeed.com/jobs?q=Repossession+Skip+Tracing+Representative&advn=
3427833976564419&vjk=a1c9519ee69ccc11
2
  https://www.primeritus.com/blog/primeritus-financial-services-receives-top-honor-ally-
financial/
                                                                                           3
    Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.4 Filed 04/19/19 Page 4 of 12




dialing system (“ATDS” or “autodialer”) in violation of the TCPA. Specifically,

hardware and software with the capacity to generate and store random numbers,

and/or receive and store lists of telephone numbers, and to dial such numbers, en

masse, in an automated fashion without human intervention. Defendants’

automated dialing equipment also is, or includes features substantially similar to, a

predictive dialer, meaning that it is capable of making numerous phone calls

simultaneously and automatically connecting answered calls to then available

callers and disconnecting the rest (all without human intervention).

        14.       In fact, in another case in this Circuit, Ammons v. Ally Financial Inc.,

3:17-cv-00505 (M.D. Tenn.), the court ruled that Ally’s dialer equipment is an

autodialer under the TCPA.3

        15.       Not surprisingly, there are many online complaints from consumers

about unauthorized calls they received from Ally as a result of Ally’s skip-tracing

practices:

              •    “This number keeps calling me. I see people on here say it’s Nuvall
                  auto finance…I called it back and it is answered as Ally Financial.
                  Don’t know why they’re calling me… I do not hae a car loan and I do
                  not deal with Ally Financial at all!”4

              • “I’ve had two calls from this number. Messages were left on my
                phone for my older brother. I don’t know how they got my number,
                but I wish they stop calling.”5

              • “Just talked to a girl named Lori and she asked for a former friend of
3
  Ammons v. Ally Fin., Inc., 326 F. Supp. 3d 578 (M.D. Tenn. 2018)
4
  https://800notes.com/Phone.aspx/1-888-673-8490/8
5
  Id.
                                                                                             4
    Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.5 Filed 04/19/19 Page 5 of 12




                  mine. I explained that she is a former friend and this is not her
                  number. Lori then processed to give me a call back [from] number
                  855-306-6939 and I give a message. I repeated that the person she was
                  asking for is a FORMER friend.”6

              •    “Asks for a variety of names, then I tell her she won’t get into of who
                  I am, lose my number. Then click[.]”7

              •   “Doesn’t leave message. Don’t have anything through them and don’t
                  know why they called.”8

                             PLAINTIFF’S ALLEGATIONS

        16.       On March 7, 2019 at 10:20 AM, Plaintiff received a call on his cell

phone from Ally using the phone number 888-673-8490. Ally’s voicemail stated:

        “I’ve got a message for a Michelle Brooks. Please call us back today at 855-
        306-6939. Again it’s 855-306-6939. We’re open daily from 7:00 AM ‘till
        midnight eastern standard time. This is (Cheryl?) and we will be expecting
        your call as soon as possible. Thank you.”

        17.       On March 8, 2019 at 8:56 AM, Plaintiff received a second call from

Defendant, again using phone number 888-673-8490. Plaintiff was unable to

answer this call.

        18.       On March 11, 2019 at 8:10 AM, Plaintiff received an autodialed call

from Defendant using phone number 888-673-8490 on his cellular phone. When

Plaintiff answered this call, there was a long pause of dead silence before the Ally

agent came on the line.

        19.       The agent told Plaintiff that she was looking for Michelle Brooks.

6
  https://whocalled.us/lookup/8886738490
7
  https://800notes.com/Phone.aspx/1-855-306-6939
8
  https://findwhocallsyou.com/8886738490?CallerInfo
                                                                                         5
 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.6 Filed 04/19/19 Page 6 of 12




Plaintiff answered, explaining that the agent had the wrong number and asked not

to be called again. Plaintiff then hung up the phone.

      20.    In 2013, Plaintiff acquired his cell phone number. Upon information

and belief, the previous owner of Plaintiff’s cell phone number was Michelle

Brooks.

      21.    Upon information and belief, Ally called Plaintiff’s cellular phone

number as a result of its skip-tracing attempts to locate Michelle Brooks.

      22.    When one calls the phone number 888-673-8490 (the number that

called Plaintiff), an automated message identifies the number as belong to Ally

Financial and directs the caller to the website ally.com/auto.

      23.    Similarly, when one calls 855-306-6939, the phone number Plaintiff

was asked to call in the voicemail he received, an automated message identifies the

number as belong to Ally Financial and directs the caller to the website

ally.com/auto.

      24.    Ally never obtained Plaintiff’s prior express consent to place any

telephone calls to his cell phone number using an autodialer.

      25.    The unauthorized telephone calls made by Ally as alleged herein have

harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and

disturbed Glick’s use and enjoyment of his phone, in addition to the wear and tear

on the phones’ hardware (including the phones’ battery) and the consumption of

memory on the phone.
                                                                                     6
 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.7 Filed 04/19/19 Page 7 of 12




      26.    Seeking redress for these injuries, Glick, on behalf of himself and

Class of similarly situated individuals, brings suit under the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq., which prohibits autodialed calls to cell

phone numbers without consent.

                             CLASS ALLEGATIONS

         Class Treatment Is Appropriate for Plaintiff’s TCPA Claims

      27.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated

and seeks certification of the following Class:

      All persons in the United States who from four years prior to the filing
      of this action through the present (1) Defendant (or an agent acting on
      behalf of Defendant) called, (2) on the person’s cellular telephone, (3)
      using the same equipment Defendant used to call Plaintiff, and (4) for
      whom Defendant claims (a) it obtained prior express consent in the
      same manner as Defendant claims they supposedly obtained prior
      express consent to call the Plaintiff Glick, or (b) it did not obtain prior
      express written consent.

      28.    The following individuals are excluded from the Class: (1) any Judge

or Magistrate presiding over this action and members of their families; (2)

Defendant, its subsidiaries, parents, successors, predecessors, and any entity in

which Defendant or its parents have a controlling interest and its current or former

employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

properly execute and file a timely request for exclusion from the Class; (5) the

legal representatives, successors or assigns of any such excluded persons; and (6)

                                                                                       7
 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.8 Filed 04/19/19 Page 8 of 12




persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions

following appropriate discovery.

      29.    Numerosity: On information and belief, there are hundreds, if not

thousands of members of the Class who received wrong number calls on their cell

phones from Ally as a result of skip-tracing such that joinder of all members is

impracticable.

      30.    Commonality and Predominance: There are many questions of law

and fact common to the claims of Plaintiff and the Class, and those questions

predominate over any questions that may affect individual members of the Class.

Common questions for the Class include, but are not necessarily limited to the

following:

             (a) whether the conduct of Defendant constitutes a violation of the
                 TCPA;

             (b) whether Defendant utilized an automatic telephone dialing system
                 to make its calls to Plaintiff and the members of the Class;

             (c) whether Defendant made calls to Plaintiff and members of the
                 Class without first obtaining prior express consent to make the
                 calls; and

             (d) whether members of the Class are entitled to treble damages based
                 on the willfulness of Defendant’s conduct.

      31.    Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Class, and has retained counsel competent

                                                                                    8
 Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.9 Filed 04/19/19 Page 9 of 12




and experienced in class actions. Plaintiff has no interests antagonistic to those of

the Class, and Defendant has no defenses unique to Plaintiff. Plaintiff and his

counsel are committed to vigorously prosecuting this action on behalf of the

members of the Class, and have the financial resources to do so. Neither Plaintiff

nor his counsel have any interest adverse to the Class.

      32.    Appropriateness: This class action is also appropriate for

certification because Defendant acted or refused to act on grounds generally

applicable to the Class and as a whole, thereby requiring the Court’s imposition of

uniform relief to ensure compatible standards of conduct toward the members of

the Class and making final class-wide injunctive relief appropriate. Defendant’s

business practices apply to and affect the members of the Class uniformly, and

Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

Additionally, the damages suffered by individual members of the Class will likely

be small relative to the burden and expense of individual prosecution of the

complex litigation necessitated by Defendant’s actions. Thus, it would be virtually

impossible for the members of the Class to obtain effective relief from Defendant’s

misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.




                                                                                        9
Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.10 Filed 04/19/19 Page 10 of 12




                           FIRST CAUSE OF ACTION

                       Telephone Consumer Protection Act
                          (Violations of 47 U.S.C. § 227)
                       (On Behalf of Plaintiff and the Class)

       33.   Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them by reference herein.

       34.   Defendant and/or its agents made unauthorized collection telephone

calls to cellular telephone numbers belonging to Plaintiff and the other members of

the Class using an autodialer.

       35.   These collection telephone calls were made en masse without the prior

express consent of Plaintiff and other members of the Class.

       36.   Defendant made the calls negligently or knowingly and wilfully.

       37.   Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a

result of Defendant’s conduct, Plaintiff and the other members of the Class are

each entitled to between $500 and $1,500 in damages for each violation of such

act.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Glick, individually and on behalf of the Class,

prays for the following relief:

       a)    An order certifying the Class as defined above; appointing Plaintiff as

the representative of the Class, and appointing his attorneys as Class Counsel;

       b)    An award of actual and/or statutory damages and costs;
                                                                                  10
Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.11 Filed 04/19/19 Page 11 of 12




      c)     An order declaring that Defendant’s actions, as set out above, violate

the TCPA.

      d)     An injunction requiring Defendant to cease all unlawful autodialed

calling activity, and to otherwise protect the interests of the Class; and

      e)     Such further and other relief as the Court deems necessary.

                                  JURY DEMAND

      Plaintiff requests a jury trial of all claims.

Dated: April 17, 2019                    TIMOTHY GLICK, individually and on
                                         behalf of all others similarly situated,


                                         /s/ George Blackmore
                                         George Blackmore (P76942)
                                         BLACKMORE LAW PLC
                                         21411 Civic Center Drive, Suite 200
                                         Southfield, MI 48076
                                         Telephone: (248) 845-8594
                                         Facimile: (855) 744-4419
                                         E-Mail:george@blackmorelawplc.com
                                         Local Counsel for Plaintiff and the putative

                                         Stefan Coleman
                                         Law@StefanColeman.com
                                         Law Offices of Stefan Coleman, P.A.
                                         201 S. Biscayne Blvd., 28th floor
                                         Miami, FL 33131
                                         Telephone: (877) 333-9427
                                         Facsimile: (888) 498-8946
                                         Counsel for Plaintiff and the Class

                                         Avi R. Kaufman
                                         kaufman@kaufmanpa.com
                                         KAUFMAN P.A.
                                         400 NW 26th Street
                                                                                    11
Case 2:19-cv-11147-GCS-SDD ECF No. 1, PageID.12 Filed 04/19/19 Page 12 of 12




                                   Miami, FL 33127
                                   Telephone: (305) 469-5881
                                   Counsel for Plaintiff and the Class




                                                                          12
